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wEsTERN olsTRlcT or-‘ TENNEssEF_F"fD ev__ __% D_c_ BY____

MEMPH|S DlVlSlON 0
os.)utle Pn¢.,ag SJUHQF,
UN\TED STATES OF AMER\CA

_ n'iOWS M.GOULD
_v. 2: o4cR20003-QWU“ psile lilly @;'W WMM

M_EPH§A
LAKEESHALA D. BLAND
Eugene Laurenzil CJA
Defense Attorney
50 North Front Street, #800
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1, 2 and 3 of the indictment on Aprii 25, 2005.
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titie & Sectlon !§lafu_l'e°_f.M Offense Numberjsj
Concluded
21 U.S.C. § 846 Conspiracy to Possess with intent to 02/19!2003 1

Distribute in Excess of 50 Grams of
Cocaine Base

21 U.S.C. § 841(a)(1) Possession with intent to Distribute in 02119/2003 2 & 3
and 18 U.S.C. § 2 Excess of 50 Grams of Cocaine Base
and Aiding and Abetting

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

iT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully pald.
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Blrth: 11/27/1978 Ju|y 19, 2005
Deft’s U.S. Marshai No.: 19415-076

Defendant’s Mai|ing Address:

131 Jamie Lynn Cove |§ Q(/\QC dQQ
covington, TN 38019 ‘>~1 ' "

JON PH|PPS MCCALLA
STATES D|STR|CT JUDGE

Thls document entered on the docket sheetl n comBiiLym_c-z) i 2005 "
with Hu|e 50 and/or32{b) FHCrP on 7¢>2§'0 %?

 

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Case No: 2:04CR20003-02-M| Defendant Name: Lakeeshaia D. BLAND Page 2 of 5
lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prlsons to be imprisoned for a term of 43 Months (or 3 Years and 7 Months) as to Count
1; 43 Months (or 3 ¥ears and 7 Months) as to Count 2; 43 Months (or 3 Years and 7

Months) as to Count 3. Counts 1, 2 and 3 are to be served concurrently with each
other for a total term of incarceration of 43 Months (or 3 Years and 7 Months).

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNiTED STATES iV|ARSHAL
By:

 

Deputy U.S. Marsha|

Case 2:04-cr-20003-.]Pi\/| Document 98 Filed 07/19/05 Page 3 of 6 PageiD 165

Case No: 2:O4CR20003-02-M| Defendant Name: Lakeeshaia D. BLAND Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 3 Years as to Count 1; 3 Years as to Count 2; 3 Years as to Count 3. Each
count is to be supervised concurrently with each other for a total term of supervision
of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a tirearrn, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation ofhcer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the first live days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training. or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphemaiia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ofhcer to visit him or her at any time at home or elsewhere and

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Case No: 2:04CR20003-02-Mi Defendant Name: Lakeeshaia D. BLAND Page 4 of 5
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofticer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofticer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall cooperate with DNA collection as directed by the Probation Oflice.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

3. The defendant shall seek and maintain fuli‘time employment with the assistance of an

employment agency.

The defendant shall participate in a literacy program.

The defendant shall submit to mental health testing and mental health treatment programs
as directed by the Probation Oflice.

.U‘:°*

CR|M|NAL MONETARY PENALTlES

The defendant shall pay thefoiiowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$300.00

The Special Assessment shall be due immediately.

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Case No: 2:04CR20003-02-Nll Defendant Name: Lakeeshaia D. BLAND Page 5 of 5
FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

DISTRIC COURT -WERSTE DISTRIC TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
case 2:04-CR-20003 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

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Honorable J on MeCalla
US DISTRICT COURT

